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                                                                                         June 22, 2023

 Special Master the Honorable Thomas Vanaskie
 1500 Market Street, East Tower, 18th Floor
 Philadelphia, PA 19103

  RE:            In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                 Case No. 1:19-md-02875-RBK

 Dear Special Master Vanaskie:

         Pursuant to Special Master Order No. 80A (ECF No. 2433), this letter serves as the reply
 to Plaintiffs’ response (ECF No. 2432) to the Pharmacy Defendants’ opening submission (ECF
 No. 2427) on the issues of aggregation of TPP payment amounts and loyalty database searches to
 attempt to find additional customer contact information not within the dispensing data.

           I.        TPP Payments

         Although the Pharmacy Defendants did not dispute relevance as to Plaintiffs’ overarching
 need for TPP payments, they have disputed the need for and relevance of that data on an
 individualized, transaction-by-transaction basis. Plaintiffs still have not articulated why the
 individualized data is relevant, and have cited solely to the mere existence of the materials as the
 basis for the production. Conversely, there is a substantial risk of competitive harm if
 disaggregated data regarding TPP payments is shared with competitors and most importantly, the
 TPPs themselves (Plaintiffs in this litigation), as doing so can give them an advantage in future
 negotiations regarding contract pricing and reimbursement rates. Finally, the Pharmacy
 Defendants criticized Plaintiffs’ economist for “purporting to aggregate profits” using a formula
 that explicitly excluded the very data the Pharmacy Defendants are now producing; our criticisms
 focused on the formula itself, not the use of aggregated data.

           II.       Loyalty Databases

         Defendants’ criticism of Plaintiffs’ original class notice proposal was that it failed to use
 any method of direct notice to consumer class members, despite the fact that consumer contact
 information is readily available in the dispensing data that the Pharmacy Defendants will produce
 pursuant to the Amended HIPAA Order (ECF No. 2434). Patients using the services of a pharmacy
 generally must provide an address and birth date to the pharmacy, and some provide a telephone
 number to the pharmacy. Although some patients also provide an email address to the pharmacy
 if they want to be contacted about their prescriptions via email, many patients do not, likely
 reflecting discomfort with sensitive health information, such as prescription use, being transmitted
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 via email. After Plaintiffs’ original notice plan, the Pharmacy Defendants agreed to produce the
 requested patient contact information available in their dispensing databases.

          Plaintiffs now want more, seeking additional customer information beyond what is in the
 dispensing data—and without even seeing what is in the dispensing data. This request creates
 issues for patient privacy and imposes a tremendous burden on the Pharmacy Defendants to search
 for and vet the additional data, despite the fact that those searches may yield little to no additional,
 reliable information, as the Court already recognized. See June 7, 2023 Hrg. Transcript at 28:16–
 23 (ECF No. 2428). There is nothing in Plaintiffs’ responsive brief that should alter the Court’s
 initial impressions.

         The Pharmacy Defendants have committed to reasonable efforts to provide information to
 Plaintiffs for class notice purposes, as they will provide available dispensing data for all at-issue
 valsartan, including available names, mailing addresses, birth dates, telephone numbers, and email
 addresses. That is all that should be required. “A burdensome search through records that may
 prove not to contain any of the information sought clearly should not be required” for class notice.
 Williams v. PillPack LLC, No. 3:19-cv-5282, 2023 WL 2573356, at *3 (W.D. Wash. Mar. 20,
 2023) (approving mixed email/mail class notice conducted through results of reverse look-up
 searches).

         Undaunted by the irrelevance of the cases they initially cited, Plaintiffs have unleashed
 even more scattershot ones. Six involve the use of employee or former employee email addresses
 (not customer emails) in Fair Labor Standards Act class notice cases. 1 One case denied class
 certification of a claim that a furniture recall was carried out negligently when IKEA had the
 plaintiff’s email address through its loyalty program but “could not identify her as a purchaser of
 recalled furniture and therefore did not contact her directly about the recall.” 2 One case debated
 the type of “best notice practicable” in an airline antitrust case where the airline defendants had
 both mail and email addresses readily accessible. 3 Others discussed class notice proposals
 involving a combination of communication methods with no substantive discussion of email
 addresses beyond that they may be used if “easily ascertainable.” 4 Finally, one case ordered
 Amazon to produce already-compiled contact information for customers who had purchased a


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  James v. Boyd Gaming Corp., 522 F. Supp. 3d 892 (D. Kan. 2021); Ott v. Publix Super Markets, Inc., 298
 F.R.D. 550 (M.D. Tenn. 2014); Haro v. Walmart, Inc., No. 21-cv-00239, 2023 WL 2239333 (E.D. Cal.
 Feb. 27, 2023); Amaraut v. Sprint/United Mgmt. Co., No. 19-cv-1411, 2020 WL 8024170 (S.D. Cal. Jan.
 14, 2020); Woods v. Caremark PHC, LLC, No. 14-cv-583, 2016 WL 5417445 (W.D. Mo. Aug. 2, 2016);
 Syed v. M-I, LLC, No. 12-cv-1718, 2014 WL 6685966 (E.D. Cal. Nov. 26, 2014).
 2
     Dukich v. IKEA US Retail LLC, 343 F.R.D. 296, 303, 310 (E.D. Pa. 2022).
 3
     In re Domestic Airline Travel Antitrust Litig., 322 F. Supp. 3d 64, 68–69 (D.D.C. 2018).
 4
  Horosny v. Burlington Coat Factory of California, LLC, No. 15-cv-5005, 2016 WL 10586285, at *10
 (C.D. Cal. Oct. 27, 2016); see also In re AT&T Mobility Wireless Data Services Litigation, 270 F.R.D. 330,
 352 (N.D. Ill. 2010) (discussing “former customers for whom AT & T has an email address”).
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 computer graphics card, 5 essentially what the Pharmacy Defendants are already doing in this case.
 But Plaintiffs have not, and cannot, point to any case in which a company produced customer
 contact information from the database at issue yet was then ordered to review an unrelated database
 in the hopes of finding further contact information.

          Moreover, instead of substantively addressing what the Pharmacy Defendants said about
 the initial six cases Plaintiffs cited, Plaintiffs simply re-cited them with no discussion. (ECF No.
 2432 at 6). This is particularly puzzling given their citation to Corcoran v. CVS Health, No. 3:15-
 cv-3504, 2019 WL 6250972 (N.D. Cal. Nov. 22, 2019), wherein the very same Notice
 Administrator Plaintiffs propose to use in this case testified that he is able to take contact
 information of the type the Pharmacy Defendants are already providing from their dispensing
 databases and run an email “append” to locate email addresses associated with the class member
 information. By contrast, Plaintiffs here propose to haphazardly attempt to “match-up and fill in
 missing emails” using unreliable and unverified emails from loyalty databases. (ECF No. 2432
 at 5).

         Setting aside the lack of legal authority supporting Plaintiffs’ position on this issue, the
 technical challenges and privacy concerns in Plaintiffs’ request make it untenable from a practical
 standpoint. It bears reiterating that whether and how loyalty card data can be searched varies
 among the Pharmacy Defendants. The Pharmacy Defendants Express Scripts, OptumRx, and
 Humana do not have pharmacy customer loyalty databases that could be queried. Accordingly, as
 used in this letter brief, “Retailer” refers to the other Pharmacy Defendants, all of whom had some
 type of front-of-store (i.e., non-pharmacy) loyalty or membership program: Albertsons, CVS,
 Kroger, Rite Aid, Walgreens, and Walmart (through its membership warehouse subsidiary Sam’s
 Club). Consistent with the Plaintiffs’ so-called “implicit concession” in footnote 3 of their
 response, the Pharmacy Defendants do not understand Plaintiffs to be seeking information from
 customer databases wholly untethered to valsartan transactions. Plaintiffs’ suggestion—or,
 perhaps, thinly veiled threat—in footnote 3 of their response that they may ask the Pharmacy
 Defendants to also search other sources, such as credit card receipts, point-of-sale systems, or other
 undefined sources, in the future essentially boils down to a request that the Pharmacy Defendants
 act as some sort of “phone book” or search engine, query any source that may have any consumer
 information in it—regardless of feasibility, verifiability, or privacy concerns—and just dump the
 data on a third party administrator retained by Plaintiffs, trusting that it will handle the data with
 care, and narrow its results appropriately to address the Retailers’ significant privacy concerns.
 Plaintiffs’ comment exemplifies the burdensome and unproductive approach that Plaintiffs are
 asking the Pharmacy Defendants to take here, and the scope of any such ask is unwieldy and
 unprecedented, and should be rejected out of hand.

         Regarding the loyalty data itself, as the Retailers have already explained to Plaintiffs, most
 Retailers do not have the ability to search by National Drug Code or even drug name within their
 loyalty database. Decl. of A. Tian of Walgreens (“Tian Decl.”) at ¶ 7, attached as Exhibit A; Decl.
 of K. Gannamani of CVS (“Gannamani Decl.”) at ¶ 8, attached as Exhibit B. There is no feasible

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     Ostrowski v. Amazon.com, Inc., No. 16-cv-1378, 2016 WL 4992051 (W.D. Wash. Sept. 16, 2016).
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 way, as Plaintiffs suggest, for those Retailers to “simply query by product.” In these cases, the
 only information within the loyalty card database about a transaction involving a prescription is
 that the transaction involved a prescription pickup; there will be no associated information about
 the drug involved. For those Retailers, the only way to provide additional contact information
 from the loyalty database would be to create a process—one that does not presently exist—
 whereby individual patient identifiers found in the separate dispensing database essentially
 function as the search terms for bulk querying the loyalty database. These type of multi-pronged
 searches take time, manpower, computing power, and significant quality control review. Ex. A,
 Tian Decl. ¶ 9; Ex. B, Gannamani Decl. ¶¶ 9, 12; Decl. of M. Paulk of Rite Aid (“Paulk Decl.”) at
 ¶ 9, attached as Exhibit C; Decl. of M. Holt of Sam’s Club (“Holt Decl.”) at ¶ 8, attached as
 Exhibit D; Decl. of M. Rando of Albertsons (“Rando Decl.”) at ¶¶ 6, 8, attached as Exhibit E.
 Other Retailers may undertake a different process to link point-of-sale transactions associated with
 a loyalty or membership identification number to a valsartan dispense, but creating that initial link
 only begins the process of potentially producing information to Plaintiff.

        Regardless of the process used, if compelled to undertake this search, it would be
 imperative for the Retailers to cross reference multiple identifiers within the dispensing database
 and within the loyalty data to attempt to minimize (though not eliminate) the risk of improper
 disclosures, including disclosure of one person’s health information (i.e., that the person has high
 blood pressure), to someone other than the patient and to avoid sending notice emails to customers
 who never took at-issue valsartan. That process of cross-referencing would be time consuming
 and fraught with potential error. Ex. A, Tian Decl. ¶¶ 10–11; Ex. B, Gannamani Decl. ¶¶ 11–12;
 Ex. C, Paulk Decl. ¶ 11; Ex. D, Holt Decl. ¶ 8; Ex. E, Rando Decl. ¶¶ 7-8.

         Plaintiffs suggest that they or the Notice Administrator could “match-up and fill in missing
 emails” (ECF No. 2432 at 5). It is unclear how the Notice Administrator would do that, especially
 if individual patient identifiers are themselves the search terms used. Regardless, Retailers cannot
 simply turn over a pile of email addresses untethered to actual purchases of valsartan. Doing so
 would be inconsistent with their privacy obligations and practices. Indeed, Plaintiffs’ recent
 disclosure of a potential “cybersecurity incident” at one of their vendors underscores this point.
 See June 8, 2023 Email from Dave Stanoch, attached as Exhibit F.

         This case is not about movie rentals, baby food, or even an over-the-counter drug. This
 case involves prescription medication, and the inadvertent disclosure of class members’ protected
 health information (i.e., that the person has high blood pressure) to someone other than the
 patient—even a spouse or a neighbor—carries the risk of real harm. The fact that a patient was
 prescribed this prescription medication is protected health information, disclosure of which the
 patient should control. It is one thing for a pharmacy to disclose contact information provided to
 that pharmacy and provided by the patient himself in connection with his prescriptions. The
 Pharmacy Defendants have already agreed to do that. It is a far different thing for the pharmacy
 to disclose contact information found in a loyalty database (i.e., a marketing database) that is
 tenuously linked—if at all—to a patient who also appears in the dispensing records. If a patient
 wanted her email to receive communications about her prescriptions or pharmacy services, she
 could have provided her email to the pharmacy. If she did, those email addresses will be produced
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 from the dispensing data. But there is no need for the Retailers to go on an extensive and likely
 unproductive hunt for additional contact information that a patient may never have wanted
 associated with his prescriptions or that may belong to someone else altogether.

        Moreover, it is unclear if this significant and burdensome effort will actually result in
 useable, non-duplicative email addresses. When creating loyalty cards, customers have near
 complete control over how much or how little information they disclose. Retailers do not generally
 verify what is provided or require an email address at signup. Ex. A, Tian Decl. ¶ 6; Ex. B,
 Gannamani Decl. ¶¶ 10–11; Ex. C, Paulk Decl. ¶ 7; Ex. E, Rando Decl. ¶¶ 6-7; Decl. of M. Wright
 of Sam’s Club (“Wright Decl.”) at ¶ 5, attached as Exhibit G. When signing up, customers may
 make up fake names, fake dates of birth, and, yes, fake email addresses.

         The Retailers’ concerns about the quality or veracity of what may come back in email
 searches, whether it is usable at all, and whether it presents significant privacy concerns are not
 merely hypothetical. To test the feasibility and usefulness of Plaintiffs’ request, counsel asked a
 Retailer with the capability of querying its loyalty database by National Drug Code to pull records
 from both the dispensing database (including patient identifiers) and the loyalty database for a
 randomly selected NDC and month.

        •   The dispensing data sample included 107 fills, all of which had an associated name and
            mailing address. The dispensing database had a phone number for nearly half of the
            fills, and an email address for ten of them.

        •   In contrast, the loyalty database only showed 41 fills with any type of contact
            information (whether it be mailing address, email address, or telephone number) for
            that same sample NDC and month. Of those 41 hits, only 25 had associated email
            addresses, and two of those email addresses were already in the dispensing data.

        •   Of the 23 possible new email addresses, a manual review showed that only five
            involved a match to first name, last name, and one other form of contact information in
            both the dispensing and rewards databases. The other records involved a mismatch of
            some kind between the dispensing and loyalty data, including one that appeared to be
            completely unrelated to a person who is now deceased; one that appeared to belong to
            neighbors; and many that appeared to belong to household or family members, several
            of whom had different addresses. Even with a name match between the loyalty data
            and dispensing data, some of the loyalty email addresses appeared to belong to a
            different person entirely: that is, the email address in the loyalty database appeared to
            include all or part of a different person’s name, such as John.Brown@provider.com,
            even though the name in the dispensing and loyalty databases was Mary Smith. Other
            email addresses in the loyalty database appeared to be the work emails of a household
            member, not the patient.

 In short, of this sample of 107 fills, ten emails were already in the dispensing data, along with
 mailing addresses for everyone and phone numbers for nearly half the sample; supplementing the
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 dispensing data with loyalty card information would result in adding only five additional email
 addresses to Plaintiffs’ list of contact information, and even those five email addresses were
 unverified.

         Further, customers often share loyalty cards or memberships, thinking of them as a
 “household” card as opposed to an individual one. Ex. A, Tian Decl. ¶ 10; Ex. B, Gananmani
 Decl. ¶ 11; Ex. C, Paulk Decl. ¶ 10; Ex. E, Rando Decl. ¶ 6. Sending class notice to one spouse’s
 email about the other’s grocery purchase may be appropriate, but family members sharing a loyalty
 card may wish to keep their private medical information just that—private. And even beyond the
 “household” problem, some loyalty or membership cards are shared among or used by friends,
 ex-partners, or businesses. For example, a small business may purchase “add-on” Sam’s Club
 memberships for its employees, each of whom may have a unique membership number. Ex. F,
 Wright Decl. ¶ 4. However, the primary member may be the only person who enters contact
 information for each such add-on member and may use the same email address for each add-on
 member. See id. at ¶ 5. Again, it is one thing for a company email address to receive information
 about renewals or member purchases of a front-of-store product, but an entirely different
 proposition for that same company email address to receive protected health information about a
 member’s pharmacy dispenses, particularly when the pharmacy database will be already be
 queried to provide whatever contact information the member provided to the pharmacy.

          Rule 23 directs class notice be the “best notice practicable under circumstances” and that
 it entail “reasonable efforts.” Pharmacy Defendants are certainly cooperating with Plaintiffs in
 their efforts to provide such notice, and will produce the requested available contact information
 found within their pharmacy dispensing databases for putative class members. What Plaintiffs
 demand goes far beyond that, pushing for Pharmacy Defendants to undertake onerous and time-
 consuming searches of non-pharmacy loyalty databases in the speculation that it will yield further
 email addresses. The pay-off they seek is of dubious, marginal value. This is not what Rule 23
 contemplates or prescribes, and the Court should reject Plaintiffs’ proposal for burdensome,
 additional searches.

                                              Respectfully submitted,

                                              /s/ Kristen L. Richer
                                              Kristen L. Richer
